           Case 22-60043 Document                Filed in TXSB on 06/18/22 Page 1 of 3
                                                                                    United States Bankruptcy Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                          UNITED STATES BANKRUPTCY COURT                                   June 15, 2022
                            SOUTHERN DISTRICT OF TEXAS                                  Nathan Ochsner, Clerk
                                  VICTORIA DIVISION

 In re:                                           )    Case No. 22-60020
                                                  )
                                                  )
 INFOW, LLC, et al.,                                   Chapter 11 (Subchapter V)
                                                  )
                                                  )
               Debtors.                                Jointly Administered
                                                  )


                       ORDER 6(77,1*67$786&21)(5(1&(21
                 3$5.,16 58%,2//3027,21),/('$7'2&.(712
      The Court ZLOO FRQGXFW D VWDWXV FRQIHUHQFH RQ -XQH   DW  DP DERXW WhH
PRWLRQ filed by Parkins & RubioLLPDW'RFNHW1R

          &KDUOHV5XELR.\XQJ6/HHDQG:0DUF6FKZDUW]DUHRUGHUHGWRDSSHDULQSHUVRQ

      )RUWKHDYRLGDQFHRIGRXEWWKHVHFDVHVUHPDLQGLVPLVVHGXQGHUWKH&RXUW V2UGHUDW
'RFNHW1R




           August
           June     02, 2019
                15, 2022
                         Case 22-60043 Document                            Filed in TXSB on 06/18/22 Page 2 of 3
                                                              United States Bankruptcy Court
                                                                Southern District of Texas
In re:                                                                                                                 Case No. 22-60020-cml
InfoW, LLC                                                                                                             Chapter 11
IWHealth, LLC
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0541-6                                                  User: ADIuser                                                               Page 1 of 2
Date Rcvd: Jun 16, 2022                                               Form ID: pdf002                                                            Total Noticed: 9
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 18, 2022:
Recip ID                 Recipient Name and Address
db                     + IWHealth, LLC, 5606 N. Navarro, Ste. 300-W, Victoria, TX 77904-1770
db                     + InfoW, LLC, 5606 N. Navarro, Ste. 300-W, Victoria, TX 77904-1770
db                     + Prison Planet TV, LLC, 5606 N. Navarro, Ste. 300-W, Victoria, TX 77904-1770
aty                      Kyung Shik Lee, Kyung S. Lee PLLC, Pennzoil Place-Suite 1300, HOUSTON, TX 77002, UNITED STATES
aty                    + Parkins & Rubio LLP, 700 Milam Street, Suite 1300, Houston, TX 77002-2736
cr                     + David Wheeler, et al., c/o Cain & Skarnulis PLLC, 303 Colorado Street, Suite 2850, Austin, TX 78701-4653
intp                   + Insert Company Name, LLC, 1334 Brittmoore Rd, Ste 1327, Houston, TX 77043-4035
intp                   + Ray W. Battaglia, Law Offices of Ray Battaglia, PLLC, 66 Granburg Circle, San Antonio, TX 78218-3010
intp                   + Shelby A Jordan, Jordan & Ortiz PC, 500 N Shoreline Blvd, Ste 900, Corpus Christi, TX 78401-0658

TOTAL: 9

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
cr                             Neil Heslin, et al.
intp                           Nina Khalatova
op                             W. Marc Schwartz

TOTAL: 3 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 18, 2022                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 15, 2022 at the address(es) listed below:
Name                               Email Address
                        Case 22-60043 Document                    Filed in TXSB on 06/18/22 Page 3 of 3
District/off: 0541-6                                          User: ADIuser                                                         Page 2 of 2
Date Rcvd: Jun 16, 2022                                       Form ID: pdf002                                                      Total Noticed: 9
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                            rshannon@shannonleellp.com;7044075420@filings.docketbird.com

Randy W Williams
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Shelby A Jordan
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US Trustee
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TOTAL: 23
